HERBERT CHOYNSKI, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Choynski v. CommissionerDocket No. 14448.United States Board of Tax Appeals14 B.T.A. 9; 1928 BTA LEXIS 3040; November 6, 1928, Promulgated *3040  No part of the interest involved herein was income to the petitioner for 1920 or 1921.  Herbert Choynski pro se.  J. Arthur Adams, Esq., for the respondent.  MARQUETTE *9  This proceeding is for the redetermination of deficiencies in income tax asserted by the respondent in the amounts of $787.19 for the year 1920 and $202.71 for the year 1921.  The petitioner alleges that the respondent erred in taxing to him as income interest which he received for and paid to certain other persons.  FINDINGS OF FACT.  The petitioner is and has been for many years an attorney engaged in the practice of law at San Francisco, Calif.  In the course of his practice he has acted as trustee or agent for the purpose of investing money belonging to his clients.  During the years 1920 and 1921 the petitioner had in his charge funds in the total amount of $40,000, which belonged to his mother, his sister, and several clients.  This money the petitioner invested by lending it to a firm known as Bergers, in which he was interested, at 6 per cent interest, the amount of the loan being represented by notes payable to the petitioner.  The interest on the loan was credited*3041  to the petitioner's account on the books of Bergers, and the petitioner paid to his mother, his sister, and the several clients, in the years 1920 and 1921, all of such interest in the proportions to which they were entitled to it.  The respondent included the entire amount of said interest in the petitioner's income for 1920 and 1921.  OPINION.  MARQUETTE: We are satisfied that the interest in question was received by the petitioner as trustee or agent for his mother, his sister, and certain clients, and that it was accounted for and paid over to those persons in the years in which he received it.  In our opinion the respondent erred in including any part of such interest in the petitioner's income for 1920 and 1921, and we so hold.  Judgment will be entered under Rule 50.